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                                 IN THE UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF GEORGIA
                                           ATHENS DIVISION

STEPHEN R. COLLETT and                                    )
FELICITY COLLETT,                                         )
                                                          )
                   Plaintiffs,                            )
                                                          )
v.                                                        )    CIVIL ACTION
                                                          )    FILE NO. 3:18-CV-00066-CDL
OLYMPUS OPTICAL CO., LTD., and                            )
ADVANCED STERILIZATION PRODUCTS,                          )
a Division of Ethicon, Inc.,                              )
                                                          )
                   Defendants.                            )
                                                          )
                                                          )


                                      AMENDED COMPLAINT

                   COME NOW, Plaintiffs, Stephen R. Collett and Felicity Collett, and file this their

Amended Complaint against Olympus Optical Co., Ltd. and Advanced Sterilization Products, a

Division of Ethicon, Inc.1 with this Court as follows:

                                   PARTIES, JURISDICTION AND VENUE

         1.        Plaintiff Stephen R. Collett is a professor of veterinary medicine who resides at

4271 Colham Ferry Road, Watkinsville, Oconee County, Georgia.

         2.        Plaintiff Felicity Collett is Plaintiff Stephen Collett’s wife, who also resides at

4271 Colham Ferry Road, Watkinsville, Oconee County, Georgia.



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         Plaintiffs’ original Complaint named Advanced Sterilization Products Services, Inc. as a party
         Defendant. Plaintiffs’ Amended Complaint corrects the named party Defendant as Advanced
         Sterilization Products, a Division of Ethicon, Inc., as identified in Defendant’s Motion to Dismiss
         [Doc. 8].


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         3.        Upon information and belief, Defendant Olympus Optical Co., Ltd. (“Olympus”)

is an alien corporation whose principal office is in the country of Japan at Shinjuku Monolith, 2-

3-1 Nishi-Shinjuku, Shinjuku-ku, Tokyo 163-0914.

         4.        Advanced Sterilization Products, a Division of Ethicon, Inc. (“ASP”) is a foreign

corporation, organized under the laws of New Jersey, and maintains its principal office in

Somerville, New Jersey.

         5.        ASP has registered to conduct business in Georgia with the Georgia Secretary of

State, and this is subject to the exercise of personal jurisdiction of this Court.

         6.        ASP maintains its registered office in this state at C.T. Corporation System, 289

S. Culver Street, Lawrenceville, Georgia 30046 and may be served with process and a copy of

this Complaint there.

         7.        Defendant Olympus is subject to the jurisdiction of this Court pursuant to the

Georgia Long Arm Statute, O.C.G.A. § 9-10-91, because Olympus transacts business within the

state, has committed a tortious act or omission within this state, and/or has committed a tortious

injury in this state caused by an act or omission outside of this state.

         8.        Olympus regularly does and solicits business, and engages in other persistent

courses of conduct, and derives substantial revenue from services rendered in the State of

Georgia.

         9.        Defendant Olympus may be served with summons and process in accordance with

the Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or

Commercial Matters, (November 15, 1965) 20 U.S.T. 361 (hereinafter “Hague Convention”),

Article 5(1)(a).



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           10.     Jurisdiction and venue are proper in this Court.

                                                   FACTS

           11.     Plaintiffs Stephen and Felicity Collett immigrated to the United States from South

Africa.

           12.     Plaintiff Stephen Collett applied for, and obtained, naturalization as a Citizen of

the United States on November 9, 2010.

           13.     Plaintiff Felicity Collett applied for naturalization as a Citizen of the United States

at the same time as Plaintiff Stephen Collett and was naturalized shortly before Plaintiff Stephen

Collett.

           14.     As part of the naturalization application process, both Plaintiff Felicity Collett and

Plaintiff Stephen Collett were screened for the human immunodeficiency virus (HIV) on or

about May 7, 2002.

           15.     The results of the HIV screening for both Plaintiffs were negative.

           16.     On October 10, 2011, Dr. Jeffery M. Williams, M.D. performed a colonoscopy on

Plaintiff Stephen Collett as a screening procedure for colorectal cancer using a type of flexible

endoscope called a colonoscope. The procedure was performed at the Athens Gastroenterology

Association, Dr. Williams’ clinic in Athens, Georgia.

           17.     During the procedure on October 10, 2011, according to the medical records, Dr.

Williams removed a polyp from Plaintiff Stephen Collett’s rectum using a “cold snare,” which

created a breach in the blood barrier in Plaintiff Stephen Collett’s intestinal tract.




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         18.       While waiting in the recovery room, Plaintiff Stephen Collett overheard that one

of the patients in the clinic had a colonoscopy performed prior to Plaintiff Stephen Collett and

that patient had polyps removed during the procedure.

         19.       The colonoscope which Dr. Williams used for the procedure was an Olympus

model CF-H180AL, designed, manufactured and sold as new by Olympus.

         20.       Upon information and belief, Dr. Williams followed the protocol recommended

by the Defendants Olympus and ASP for cleaning and sterilization or high-level disinfection of

the colonoscope after each use.

         21.       During the week prior to November 6, 2011, Plaintiff Stephen Collett was

traveling abroad and began to feel ill, and began taking antibiotics as a result.

         22.       On Sunday, November 6, 2011, 27 days after the colonoscopy, Plaintiff Stephen

Collett visited the Regional First Care Center in Watkinsville, Georgia complaining of fever,

night sweats, muscle pain, sore joints, and a skin rash.

         23.       In June of 2013, Plaintiff Stephen Collett began experiencing difficulty breathing.

         24.       On July 18, 2013, Plaintiff Stephen Collett was admitted into the Athens Regional

Medical Center for diagnosis of his unexplained pulmonary symptoms.

         25.       Plaintiff Stephen Collett was diagnosed with Pneumocystis pneumonia (“PCP”), a

type of pneumonia that is classed as in indicator of Acquired Immune Deficiency Syndrome

(“AIDS”).

         26.       Because his treating physicians could not explain the cause of Plaintiff Stephen

Collett’s symptoms, on July 22, 2013, Dr. F. Hugh Jenkins ordered an HIV screening for

Plaintiff Stephen Collett.



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         27.       The results of the HIV screening were positive for infection of the HIV 1 virus for

Plaintiff Stephen Collett.

         28.       Plaintiff Felicity Collett was subsequently screened for HIV. Plaintiff Felicity

Collett’s HIV screening was positive for the virus.

         29.       Plaintiff Stephen Collett has been diagnosed with advanced stage HIV infection,

otherwise known as AIDS.

         30.       Plaintiffs were completely shocked by the HIV diagnosis and were unable to

determine any possible source of the infection.

         31.       Plaintiff Stephen Collett is a research scientist.      Plaintiff Stephen Collett

extensively reviewed his medical history and the information available to him in order to

determine a source of the infection.

         32.       Plaintiff Felicity Collett extensively reviewed her medical history and the

information available in order to her to determine a source of the infection.

         33.       After exhausting all resources and exercising extraordinary diligence in

discovering why they had contracted HIV, Plaintiffs Stephen Collett and Felicity Collett were

unable to determine the source of their infection.

         34.       Plaintiff Stephen Collett continued treatment with Dr. Williams and visited his

office on September 3, 2013. At no time did Dr. Williams indicate that the source of Plaintiff

Stephen Collett’s HIV infection could have been a colonoscope.

         35.       In March of 2017, Plaintiff Stephen Collett was informed by his dentist about the

research of Dr. David Lewis, a former adjunct professor at the University of Georgia.




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         36.       Dr. Lewis had performed research on transmission of pathogens via flexible

colonoscopes, such as the Olympus model CF-H180AL used on Plaintiff Stephen Collett during

his colonoscopy on October 10, 2011.

         37.       Dr. Lewis and Plaintiff Stephen Collett met for the first time on March 21, 2017

to discuss the possible sources of the Plaintiff’s HIV infections.

         38.       Through information provided by Dr. Lewis after their initial meeting in March of

2017, Plaintiffs determined that the cause of the HIV infection was the transmission of HIV from

a prior patient via the unclean CF-H180AL colonoscope manufactured by Olympus. This was

the first time that Plaintiffs had any indication of the source of their infection.

         39.       Through research based upon information provided by Dr. Lewis after their initial

meeting in March of 2017, Plaintiffs discovered that CIDEX, the product used for disinfecting

the colonoscope, manufactured by ASP and recommended as a (high-level) disinfectant for the

Model CF-H180AL colonoscope, was not only ineffective; it actually inhibited proper cleaning

and disinfection of the colonoscope.


         40.       Accordingly, despite years of diligent research into the source of their infection, it

was only after Plaintiffs met Dr. Lewis in March of 2017, that Plaintiffs were able to discover the

cause of the HIV infection for the first time.

         41.       Olympus failed to warn physicians or Plaintiffs of the dangers inherent in using

its colonoscope.

         42.       The colonoscope used to examine Plaintiff Stephen Collett was defective in

design and in manufacture. It caused infectious patient materials containing HIV, such as blood,

exfoliated skin cells, blood cells, and bits of tissue, to become entrapped in the nooks and


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crannies in and around the exterior air-water nozzle located on the distal tip of the colonoscope

insertion tube, and in air-water channels located inside the insertion tube. This entrapped

infectious material cannot be disinfected by liquid chemical germicides such as CIDEX; and it is

transferred to other patients, causing them to become infected.

         43.       Further, Olympus failed to instruct physicians or Plaintiffs that the colonoscope

needs to be cleaned and sterilized with a solution such as peracetic acid, which is capable of

dissolving patient materials, after each use, in order to prevent the spread of infectious diseases

between patients.

         44.       Olympus knew that its colonoscope caused cross-contamination and the spread of

infectious disease.

         45.       Other manufacturers of flexible endoscopes employ the use of disposable plastic

sheaths to avoid transferring entrapped infectious patient materials patient to patient. Vision

Sciences Corporation, for example, manufactures and sells sheaths for sigmoidoscopes, which

are also inserted into the colon for colorectal cancer screening and are equipped with disposable

plastic sheaths. Olympus, in fact, has patented plastic sheaths for use on colonoscopes, but has

never provided these sheaths for use in colonoscopy.

         46.       The colonoscope used on Plaintiff Stephen Collett was not fully sterilized before

it was inserted into Plaintiff Stephen Collett’s body. The solution used to attempt disinfection of

the colonoscope before it was used on Plaintiff Stephen Collett was CIDEX (a glutaraldehyde-

based high-level disinfectant), made by ASP.            CIDEX was defective in design and in

manufacture when used as recommended in disinfecting the Olympus Model CF-180AL

colonoscope, which Olympus manufactured with exterior nooks and crannies and internal air-



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water channels that are not fully accessible to brushing.          CIDEX, rather than properly

disinfecting Olympus colonoscopes, actually causes infectious patient materials to adhere to

surfaces of the colonoscope and remain entrapped in nooks and crannies and internal channels.

         47.       CIDEX neither sterilizes the colonoscope, nor does it kill HIV entrapped in

infectious patient materials contained therein. This allows for the spread of HIV and other

infectious agents between patients.

         48.       ASP knew that CIDEX was a dangerous product if used according to their

recommendations. In a previous application made to the FDA, ASP stated that a 45-minute soak

in CIDEX was sufficient to disinfect colonoscopes.

         49.       Later in its advertising literature distributed in England, ASP cited studies

showing that glutaraldehyde can take several hours to effectively disinfect colonoscopes. This

advertising literature was distributed in support of ASP’s peracetic acid product.

         50.       Upon information and belief, and easily proven by information in the possession

of Defendant ASP, CIDEX was marketed to physicians with specific product information

claiming that CIDEX was safe and effective as a high level disinfectant for colonoscopes at the

time prior to Plaintiff Stephen Collett’s procedure.

         51.       On August 13, 2018, CIDEX was marketed on the internet as: “as a worldwide

trusted brand for effective high-level disinfection of flexible endoscopes and other medical

devices.” See https://www.emea.aspjj.com/products/manual-solutions/cidex

         52.       CIDEX has been marketed for over 45 years as: “as a worldwide trusted brand for

effective high-level disinfection of flexible endoscopes and other medical devices.”          See

https://www.emea.aspjj.com/products/manual-solutions/cidex



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         53.       At no time has ASP acknowledged the CIDEX is ineffective for disinfecting a

colonoscope, such as the one used during Plaintiff Stephen Collett’s procedure.

         54.       Specifically on its 501(k) Summary submitted to the Department of Health &

Human Services, dated April 12, 2006, ASP stated: “CIDEX Solution is a liquid chemical

sterilant/high level disinfectant used for sterilization/high-level disinfection of heat sensitive

semi-critical medical devices that cannot be processed by another process.”

         55.       Also on its 501(k) Summary submitted to the Department of Health & Human

Services, dated April 12, 2006. ASP stated: “CIDEX ® Activated Dialdehyde Solution is a liquid

chemical sterilant and a high level disinfectant for reprocessing heat sensitive medical/dental

devices such as endoscopes, respiratory therapy equipment and ultrasonic transducers.”

         56.       Thus, ASP knew peracetic acid is effective in removing entrapped patients

materials and sterilizing colonoscopes and that CIDEX is not, yet ASP continued to sell CIDEX

to the medical community for disinfecting Olympus colonoscopes.

         57.       Other manufacturers of flexible colonoscopes, such as Pentax Corporation,

manufacture and sell colonoscopes with air-water channels that are fully accessible to brushing.

Brushing allows entrapped patient materials to be removed during the pre-cleaning of

colonoscopes prior to disinfection or sterilization. None of the air-water channels in any flexible

colonoscopes manufactured by Olympus, including any of its colonoscopes, are fully accessible

to brushing.

         58.       The colonoscope inserted into Plaintiff Stephen Collett carried with it the HIV

virus.    The HIV virus was transferred from the colonoscope to Plaintiff Stephen Collett’s

perianus, rectum and colon, where the virus infected his body.



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         59.       Through the normal course of a healthy marriage, Plaintiff Stephen Collett

unknowingly transmitted HIV to his wife, Plaintiff Felicity Collett.

             FIRST CAUSE OF ACTION AS AGAINST DEFENDANT OLYMPUS
                                 (NEGLIGENCE)

         60.       Plaintiff repeats, reiterates, and realleges each and every allegation in Paragraphs

1 through 60, with the same force and effect as if more fully set forth herein.

         61.       At all relevant times, Defendant Olympus caused all endoscopes, including the

CF-180AL Scopes, to be created, researched, tested, designed, manufactured, advertised,

promoted, marketed, labeled, supplied, sold and/or distributed and/or was responsible for their

creation, research, testing, design, manufacture, advertisement, promotion, marketing, labeling,

supplying, sales and/or distribution.

         62.       At all relevant times, Defendant Olympus caused the CF-180AL Scope that was

used in Plaintiff’s procedure to be created, researched, designed, manufactured, advertised,

promoted, marketed, labeled, supplied, sold and/or distributed and/or was responsible for its

creation, research, testing, design, manufacture, advertisement, promotion, marketing, labeling,

supplying, sales and/or distribution.

         63.       The CF-180AL Scope used in Plaintiff Stephen Collett’s procedure was expected

to, and did, reach the Athens Gastroenterology Association without substantial change to the

condition in which it was designed, manufactured, promoted, advertised, labeled, supplied, sold,

and/or distributed by Defendant Olympus.

         64.       When the CF-180AL Scope was used in Plaintiff Stephen Collett’s procedure, it

had not been substantially changed in design, manufacture or labeling from when Athens




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Gastroenterology Association had first received it from Defendant Olympus until the time it was

used in Plaintiff’s procedure.

         65.       Defendant Olympus had a duty to exercise reasonable care in the creation, design,

research, manufacture, testing, marketing, supply, promotion, advertising, labeling, sale, and/or

distribution of the CF-180AL Scopes into the stream of commerce, including, but not limited to,

a duty to assure that the devices would not leave patients, such as the Plaintiff Stephen Collett,

vulnerable to infection and illness as a result of device contamination.

         66.       Defendant Olympus also had a duty to create, design, research, manufacture, test,

market, supply, promote, advertise, label, sell, and/or distribute into the stream of commerce the

CF-180AL Scope in such a way as to avoid harm to patients upon whom it was to be used, such

as the Plaintiff Stephen Collett, and/or to refrain from such activities upon the knowledge and/or

constructive knowledge that such an instrument posed an unreasonable risk of harm to patients

upon whom it was to be used, such as the Plaintiff Stephen Collett.

         67.       Defendant Olympus breached the aforementioned duties by failing to exercise

ordinary care in creating, designing, researching, manufacturing, marketing, supplying,

promoting, labeling, advertising, packaging, selling, testing, quality assurance, quality control

and/or distributing the CF-180AL Scope into interstate commerce in that Defendant Olympus

knew or should have known that using the CF-180AL Scopes created a high risk of

unreasonable, dangerous side effects, in that they allowed for microbial contamination and the

spread of these microbial contaminants from one patient to another.

         68.       Defendant Olympus violated the aforementioned duties in a myriad of ways,

including, but not limited to, the following:



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                   (a)   Manufacturing, producing, promoting, formulating, creating, and/or

                         designing the CF-180AL Scope without testing it;

                   (b)   Manufacturing, producing, promoting, formulating, creating, and/or

                         designing the CF-180AL Scope without adequately and thoroughly testing

                         it;

                   (c)   Not conducting sufficient testing programs to determine whether or not the

                         CF-180AL Scope was safe for use, in that Defendant Olympus knew or

                         should have known that the CF-180AL Scope was unsafe and unfit for use

                         by reason of the dangers to its users;

                   (d)   Selling the CF-180AL Scope without making proper and sufficient tests to

                         determine the dangers to its users;

                   (e)   Failing to adequately and correctly warn the Plaintiff, Dr. Williams, the

                         Athens    Gastroenterology     Association,   Plaintiff’s   other   healthcare

                         providers, the public, the medical community and/or the FDA of the

                         dangers of the CF-180AL Scope;

                   (f)   Failing to provide adequate instructions regarding safety precautions to be

                         observed by users, handlers, and persons who would reasonably and

                         foreseeably come into contact with, and more particularly, use the CF-

                         180AL Scope;

                   (g)   Failing to provide adequate instructions regarding the reprocessing of the

                         CF-180AL Scope to be performed by users, handlers, and persons who




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                         would reasonably and foreseeably come into contact with the CF-180AL

                         Scope;

                   (h)   Promoting, marketing, advertising and/or recommending the use of the

                         CF-180AL Scope without sufficient knowledge as to its dangerous

                         propensities, including, but not limited to, increased risk of microbial

                         contamination and the spreading of these contaminants from one patient to

                         another;

                   (i)   Representing that the CF-180AL Scope was safe for use for its intended

                         purpose, when, in fact, it was unsafe in that it allowed for microbial

                         contamination and the spread of these contaminants from one patient to

                         another;

                   (j)   Designing the CF-180AL Scope in a manner which was dangerous to its

                         users, such that it allowed for microbial contamination and the spread of

                         contaminants from one patient to another;

                   (k)   Manufacturing the CF-180AL Scope in a manner which was dangerous to

                         its users, such that it allowed for microbial contamination and the spread

                         of contaminants from one patient to another;

                   (l)   Producing the CF-180AL Scope in a manner which was dangerous to its

                         users, such that it allowed for microbial contamination and the spread of

                         contaminants from one patient to another;




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                   (m)   Assembling the CF-180AL Scope in a manner which was dangerous to its

                         users, such that it allowed for microbial contamination and the spread of

                         contaminants from one patient to another;

                   (n)   Concealing information concerning FDA regulations and warnings from

                         the Plaintiff Stephen Collett and his healthcare providers in knowing that

                         the CF-180AL Scope was unsafe, dangerous, and/or non-conforming with

                         FDA regulations;

                   (o)   Improperly concealing from and/or misrepresenting information to the

                         Plaintiff Stephen Collett, his healthcare professionals, and/or the FDA,

                         concerning the defects and severity of risks and dangers of the CF-180AL

                         Scope;

                   (p)   Failing to respond promptly and adequately to testing indicating that the

                         CF-180AL Scope was unsafe for use as directed in the manufacturers’

                         instructions and/or reprocessing instructions, such that it allowed for

                         microbial contamination and the spread of contaminants from one patient

                         to another;

                   (q)   Failing to conduct post-market surveillance and/or adequate post-market

                         surveillance of the CF-180AL Scope;

                   (r)   Failing to act promptly to revise the manufacturers’ instructions and

                         reprocessing instructions for the CF-180AL Scopes upon learning of their

                         deficiencies;




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                   (s)   Failing to promptly adjust the design and manufacture of the CF-180AL

                         Scope upon learning of its defects;

                   (t)   Manufacturing, marketing, advertising, supplying, promoting, selling,

                         and/or distributing the CF-180AL Scope given its knowledge of its

                         defects; and

                   (u)   Disregarding the safety and welfare of patients, including Plaintiff Stephen

                         Collett, by failing to withdraw the CF-180AL Scope from the market,

                         revise the device’s design, revise the device’s reprocessing instructions,

                         and/or otherwise restrict use of the device.

         69.       Before and at the time the CF-180AL Scope was used in Plaintiff’s Procedure,

Defendant Olympus knew or should have known that the CF-180AL Scope caused unreasonably

dangerous side effects, in that it allowed for microbial contamination and the spread of these

contaminants from one patient to another.

         70.       Despite the fact that Defendant Olympus knew or should have known before and

at the time the CF-180AL Scope was used in Plaintiff’s procedure that the CF-180AL Scope

caused unreasonably dangerous side effects, in that it allowed for microbial contamination and

the spread of these contaminants from one patient to another, Defendant Olympus continued to

manufacture, market, promote, advertise, distribute and/or sell its CF-180AL Scopes to

healthcare facilities, including Athens Gastroenterology Associations, for use in endoscopic

procedures.




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         71.       Defendant Olympus knew or should have known that patients, such as the

Plaintiff Stephen Collett, would foreseeably suffer injury as a result of its failure to exercise

ordinary care, as set forth herein.

         72.       Because of Defendant Olympus’s failure to exercise ordinary care, as set forth

herein, a defective CF-180AL Scope was used in Plaintiff Stephen Collett’s procedure and

microbial contaminants were transferred to him from the CF-180AL Scope, which later resulted

in an HIV infection.

         73.       Defendant Olympus’s negligence was the proximate, legally attributable cause of

the injuries Plaintiff has suffered and continues to suffer.

         74.       As a direct and proximate result of the foregoing acts and omission of Defendant

Olympus, Plaintiff Stephen Collett was caused to suffer severe and personal injuries, including,

but not limited to, HIV, AIDS, and diminished enjoyment of life, as well as the need for lifelong

medical treatment.

         75.       If not for Defendant Olympus’s acts and omissions, described herein, Plaintiffs

would not have sustained HIV and all other injuries associated therewith.

         76.       It was foreseeable to Defendant Olympus that its acts and omissions would cause

harm to patients undergoing procedures in which said CF-180AL Scopes were used.

         77.       It was foreseeable to Defendant Olympus that the use of the CF-180AL Scope in

Plaintiff Stephen Collett’s procedure would cause the injuries alleged herein.

         78.       By reason of the foregoing, Plaintiffs have been damaged.




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                 SECOND CAUSE OF ACTION AS AGAINST DEFENDANT ASP
                                  (NEGLIGENCE)

         79.       Plaintiff repeats, reiterates, and realleges each and every allegation in Paragraphs

1 through 78, with the same force and effect as if more fully set forth herein.

         80.       At all relevant times, Defendant ASP caused CIDEX, to be created, researched,

tested, designed, manufactured, advertised, promoted, marketed, labeled, supplied, sold and/or

distributed and/or was responsible for the creation, research, testing, design, manufacture,

advertisement, promotion, marketing, labeling, supplying, sales and/or distribution.

         81.       At all relevant times, Defendant ASP caused the CIDEX Scope that was used on

the scope used in Plaintiff Stephen Collett’s procedure to be created, researched, designed,

manufactured, advertised, promoted, marketed, labeled, supplied, sold and/or distributed and/or

was responsible for its creation, research, testing, design, manufacture, advertisement,

promotion, marketing, labeling, supplying, sales and/or distribution.

         82.       The CIDEX used in Plaintiff Stephen Collett’s procedure was expected to, and

did, reach the Athens Gastroenterology Association without substantial change to the condition

in which it was designed, manufactured, promoted, advertised, labeled, supplied, sold, and/or

distributed by Defendant ASP.

         83.       When the CIDEX that was used in Plaintiff Stephen Collett’s procedure, it had

not been substantially changed in design, manufacture or labeling from when Athens

Gastroenterology Association had first received it from Defendant ASP until the time it was used

in Plaintiff’s procedure.

         84.       Defendant ASP had a duty to exercise reasonable care in the creation, design,

research, manufacture, testing, marketing, supply, promotion, advertising, labeling, sale, and/or


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distribution of the CIDEX into the stream of commerce, including, but not limited to, a duty to

assure that the material would not leave patients, such as the Plaintiff Stephen Collett, vulnerable

to infection and illness as a result of device contamination.

         85.       Defendant ASP also had a duty to create, design, research, manufacture, test,

market, supply, promote, advertise, label, sell, and/or distribute into the stream of commerce the

CIDEX in such a way as to avoid harm to patients upon whom it was to be used, such as the

Plaintiff Stephen Collett, and/or to refrain from such activities upon the knowledge and/or

constructive knowledge that such a product posed an unreasonable risk of harm to patients upon

whom it was to be used, such as the Plaintiff Stephen Collett.

         86.       Defendant ASP breached the aforementioned duties by failing to exercise

ordinary care in creating, designing, researching, manufacturing, marketing, supplying,

promoting, labeling, advertising, packaging, selling, testing, quality assurance, quality control

and/or distributing the CIDEX into interstate commerce in that Defendant ASP knew or should

have known that using the CIDEX created a high risk of unreasonable, dangerous side effects, in

that it allowed for microbial contamination and the spread of these microbial contaminants from

one patient to another.

         87.       Defendant ASP violated the aforementioned duties in a myriad of ways,

including, but not limited to, the following:

                   (a)    Manufacturing, producing, promoting, formulating, creating, and/or

                          designing the CIDEX without testing it;

                   (b)    Manufacturing, producing, promoting, formulating, creating, and/or

                          designing the CIDEX Scope without adequately and thoroughly testing it;



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                   (c)   Not conducting sufficient testing programs to determine whether or not the

                         CIDEX was safe for use, in that Defendant ASP knew or should have

                         known that CIDEX was unsafe and unfit for use by reason of the dangers

                         to its users;

                   (d)   Selling CIDEX without making proper and sufficient tests to determine

                         the dangers to its users;

                   (e)   Failing to adequately and correctly warn the Plaintiff, Dr. Williams, the

                         Athens     Gastroenterology      Association,   Plaintiff’s   other   healthcare

                         providers, the public, the medical community and/or the FDA of the

                         dangers of CIDEX;

                   (f)   Failing to provide adequate instructions regarding safety precautions to be

                         observed by users, handlers, and persons who would reasonably and

                         foreseeably come into contact with, and more particularly, use CIDEX;

                   (g)   Failing to provide adequate instructions regarding the reprocessing of the

                         colonoscopes with CIDEX to be performed by users, handlers, and

                         persons who would reasonably and foreseeably come into contact with the

                         CIDEX;

                   (h)   Promoting, marketing, advertising and/or recommending the use of

                         CIDEX without sufficient knowledge as to its dangerous propensities,

                         including, but not limited to, increased risk of microbial contamination

                         and the spreading of these contaminants from one patient to another;




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                   (i)       Representing that the CIDEX was safe for use for its intended purpose,

                             when, in fact, it was unsafe in that it allowed for microbial contamination

                             and the spread of these contaminants from one patient to another;

                   (j)       Designing CIDEX in a manner which was dangerous to its users, such that

                             it allowed for microbial contamination and the spread of contaminants

                             from one patient to another;

                   (k)       Manufacturing CIDEX in a manner which was dangerous to its users, such

                             that it allowed for microbial contamination and the spread of contaminants

                             from one patient to another;

                   (l)       Producing CIDEX in a manner which was dangerous to its users, such that

                             it allowed for microbial contamination and the spread of contaminants

                             from one patient to another;

                   (m)       Concealing information concerning FDA regulations and warnings from

                             the Plaintiff Stephen Collett and his healthcare providers in knowing that

                             CIDEX was unsafe, dangerous, and/or non-conforming with FDA

                             regulations;

                       (n)   Improperly concealing from and/or misrepresenting information to the

                             Plaintiff Stephen Collett, his healthcare professionals, and/or the FDA,

                             concerning the defects and severity of risks and dangers of CIDEX;

                       (o)   Failing to respond promptly and adequately to testing indicating that the

                             CIDEX was unsafe for use as directed in the manufacturers’ instructions

                             and/or reprocessing instructions, such that it allowed for microbial



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                             contamination and the spread of contaminants from one patient to

                             another;

                       (p)   Failing to conduct post-market surveillance and/or adequate post-market

                             surveillance of CIDEX;

                       (q)   Failing to act promptly to revise the manufacturers’ instructions and

                             reprocessing instructions for colonoscopes using CIDEX upon learning of

                             their deficiencies;

                       (r)   Failing to promptly adjust the design and manufacture of the CIDEX upon

                             learning of its defects;

                       (s)   Continuing manufacturing, marketing, advertising, supplying, promoting,

                             selling, and/or distributing the CIDEX given the knowledge of its defects;

                             and

                       (t)   Disregarding the safety and welfare of patients, including Plaintiff Stephen

                             Collett, by failing to withdraw CIDEX from the market, revise the

                             product, revise the usage instructions, and/or otherwise restrict use of the

                             product.

         88.       Before and at the time the CIDEX was used in Plaintiff’s Procedure, Defendant

ASP knew or should have known that CIDEX caused unreasonably dangerous side effects, in

that it allowed for microbial contamination and the spread of these contaminants from one

patient to another.

         89.       Despite the fact that Defendant ASP knew or should have known before and at the

time the CIDEX was used in Plaintiff Stephen Collett’s procedure that the CIDEX caused



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unreasonably dangerous side effects, in that it allowed for microbial contamination and the

spread of these contaminants from one patient to another, Defendant ASP continued to

manufacture, market, promote, advertise, distribute and/or sell CIDEX to healthcare facilities,

including Athens Gastroenterology Associations, for use in endoscopic procedures.

         90.       Defendant ASP knew or should have known that patients, such as the Plaintiff

Stephen Collett, would foreseeably suffer injury as a result of its failure to exercise ordinary

care, as set forth herein.

         91.       Because of Defendant ASP’s failure to exercise ordinary care, as set forth herein,

CIDEX was used in Plaintiff Stephen Collett’s procedure and microbial contaminants were

transferred to him from the CF-180AL Scope, which later resulted in his HIV infection.

         92.       Defendant ASP’s negligence was the proximate, legally attributable cause of the

injuries Plaintiffs have suffered and continue to suffer.

         93.       As a direct and proximate result of the foregoing acts and omission of Defendant

ASP, Plaintiffs Stephen Collett and Felicity Collett were caused to suffer severe and personal

injuries, including, but not limited to, HIV, AIDS, and diminished enjoyment of life, as well as

the need for lifelong medical treatment.

         94.       If not for Defendant ASP’s acts and omissions, described herein, Plaintiffs would

not have sustained the HIV infection and all other injuries associated therewith.

         95.       It was foreseeable to Defendant ASP that its acts and omissions would cause harm

to patients undergoing procedures in which said CIDEX was used.

         96.       It was foreseeable to Defendant ASP that the use of CIDEX in Plaintiff Stephen

Collett’s procedure would cause the injuries alleged herein.



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         97.       As a direct result, Plaintiffs have been damaged.

             THIRD CAUSE OF ACTION AS AGAINST DEFENDANT OLYMPUS
                  (STRICT PRODUCTS LIABILITY - DESIGN DEFECT)

         98.       Plaintiff repeats, reiterates, and realleges each and every allegation in Paragraphs

1 through 97, with the same force and effect as if more fully set forth herein.

         99.       At all relevant times, the CF-180AL Scopes, including the one used on the

Plaintiff during his procedure, were unsafe, defective, and inherently dangerous as designed, thus

rendering them dangerous to all patients, and particularly, the Plaintiff Stephen Collett .

         100.      At the time of the Plaintiff’s exposure to the defectively designed CF-180AL

Scope during his procedure, the CF-180AL Scope was being used for the purposes and in a

manner normally intended.

         101.      The Plaintiff, Dr. Williams, Athens Gastroenterology Association and/or her other

healthcare providers could not, by the exercise of reasonable care, have discovered the CF-

180AL Scope’s design defects herein mentioned and perceived its danger.

         102.      At all relevant times, Defendant Olympus caused all endoscopes, including the

CF-180AL Scopes, to be created, researched, designed, advertised, promoted, marketed and/or

labeled and/or was responsible for their creation, research, design, advertisement, promotion,

marketing and labeling.

         103.      At all relevant times, Defendant Olympus CORPORATION caused the CF-

180AL Scope that was used in Plaintiff’s procedure to be created, researched, designed,

advertised, promoted, marketed, and labeled and/or was responsible for its creation, research,

design, advertisement, promotion, marketing and labeling.




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         104.      The CF-180AL Scope used in the Plaintiff’s procedure was expected to and did

reach the usual consumers, handlers, and persons coming into contact with said product until it

ultimately reached Athens Gastroenterology Association without any change in the manner in

which it was designed, produced, manufactured, advertised and/or labeled by Defendant

Olympus.

         105.      The CF-180AL Scope used in the procedure performed on Plaintiff Stephen

Collett had not been substantially changed, altered or modified in design, manufacture or

labeling from when it was first received by Athens Gastroenterology Association from

Defendant Olympus through the date it was used during Plaintiff’s procedure.

         106.      The CF-180AL Scope created, designed, researched, advertised, promoted,

marketed, and/or labeled by Defendant Olympus was defective in design or formulation in that

its foreseeable risks, including, but not limited to, the risk of microbial contamination and the

spread of infection from one patient to another, exceeded its benefits or utility.

         107.      The CF-180AL Scope created, designed, researched, advertised, promoted,

marketed and/or labeled by Defendant Olympus was defective in design and/or formulation, in

that Defendant Olympus exposed patients, particularly the Plaintiff Stephen Collett, to a greater

risk of danger than that to which they should have been exposed.

         108.      The CF-180AL Scope created, designed, researched, advertised, promoted,

marketed and/or labeled by Defendant Olympus was defective in design and/or formulation, in

that it was unreasonably dangerous due to, among other things, its increased risk of microbial

contamination and the spread of infection from one patient to another, and it was more dangerous

than an ordinary consumer would expect.



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         109.      The CF-180AL Scope created, designed, researched, advertised, promoted,

marketed and/or labeled by Defendant Olympus was defective in design or formulation in that it

was not reasonably fit, suitable, or safe for its intended purpose because its design caused it to

trap contaminants from one patient and spread them to other patients subsequently exposed to the

CF-180AL Scope.

         110.      The CF-180AL Scope created, designed, researched, advertised, promoted,

marketed and/or labeled by Defendant Olympus was defective in design in that it failed to warn

of the increased risk of microbial contamination and the spread of infection from one patient to

another, and it was more dangerous than an ordinary consumer would expect.

         111.      At all times herein mentioned, the CF-180AL Scope was defectively designed and

unsafe, and Defendant Olympus knew or had reason to know that the CF-180AL Scope was

defectively designed and unsafe, especially when used in the form and manner as provided

and/or directed by the Defendant Olympus.

         112.      Defendant Olympus knew, or should have known, that at all times herein

mentioned the CF-180AL Scope was defectively designed, in that it allowed for microbial

contamination and the spread of infection from one patient to another patient, and was and is

inherently dangerous and unsafe.

         113.      Defendant Olympus with its knowledge of the design defects associated with the

CF-180AL Scopes voluntarily designed and/or continued with the design of the CF-180AL

Scopes in a dangerous condition for use by healthcare providers in their patients, and particularly

by Dr. Williams in the Plaintiff Stephen Collett.




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         114.      Defendant Olympus with its knowledge of the design defects associated with the

CF-180AL Scopes failed to inform healthcare facilities, physicians, the medical community

and/or the FDA of the CF-180AL Scopes’ design defects.

         115.      Defendant Olympus with its knowledge of the design defects associated with the

CF-180AL Scopes failed to inform Plaintiff, Athens Gastroenterology Association, Dr. Williams

and/or his other healthcare providers of the CF-180AL Scopes’ design defects.

         116.      At all relevant times, a technologically feasible alternative design that was a

marketable reality was available for Defendant Olympus to implement that would have made the

CF-180AL Scope safer than the design of the CF-180AL Scope that was used in Plaintiff’s

procedure, and this design would have been as equally efficacious as the CF-180AL Scope that

was used in Plaintiff’s procedure.

         117.      Had Defendant Olympus implemented the aforementioned design that was

feasible and a marketable reality, the foreseeable risks of harm presented by the CF-180AL

Scope that it did adopt would have been reduced.

         118.      At all relevant times, the defectively designed CF-180AL Scopes, including the

CF-180AL Scope used in the procedure performed on the Plaintiff Stephen Collett created an

unreasonable risk of harm to patients, including the Plaintiff, and Defendant Olympus is

therefore strictly liable in tort for the injuries he sustained.

         119.      The defective design of the CF-180AL Scope that was used in Plaintiff Stephen

Collett’s procedure caused microbial contaminants that were retained in the CF-180AL Scope to

be transferred to him from the CF-180AL Scope during his procedure, which resulted in him

contracting HIV.



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         120.      As a direct and proximate result of the defective design of the CF-180AL Scope

used in his procedure, Plaintiff Stephen Collett was caused to suffer severe and personal injuries,

including, but not limited to, HIV, AIDS, and diminished enjoyment of life, as well as the need

for lifelong medical treatment.

         121.      If not for the dangerously defective design of the CF-180AL Scope, described

herein, Plaintiff would not have been harmed and would not have sustained HIV, AIDS, and all

other injuries associated therewith.

         122.      The defectively designed CF-180AL Scope that was used in the procedure

performed on Plaintiff Stephen Collett was the direct and proximate cause of Plaintiff’s injuries

as set forth herein.

         123.      The defective design of the CF-180AL Scope was a substantial factor in causing

Plaintiff Stephen Collett’s injuries.

         124.      As a direct result of Defendant’s actions, Plaintiffs have been damaged.

                       FOURTH CAUSE OF ACTION AS AGAINST DEFENDANT ASP
                          (STRICT PRODUCTS LIABILITY - DESIGN DEFECT)

         125.      Plaintiff repeats, reiterates, and realleges each and every allegation in Paragraphs

1 through 124, with the same force and effect as if more fully set forth herein.

         126.      At all relevant times, the CIDEX, including the product used on the scope used on

Plaintiff Stephen Collett during his procedure, was unsafe, defective, and inherently dangerous

as designed, thus rendering it dangerous to all patients, and particularly, the Plaintiff Stephen

Collett .

         127.      At the time of the Plaintiff’s exposure to the CF-180AL Scope during his

procedure, the CIDEX was being used for the purposes and in a manner normally intended.


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         128.      The Plaintiff, Dr. Williams, Athens Gastroenterology Association and/or other

healthcare providers could not, by the exercise of reasonable care, have discovered the CIDEX

design defects herein mentioned and perceived its danger.

         129.      At all relevant times, and prior to Plaintiff Stephen Collett’s procedure, Defendant

ASP caused CIDEX to be created, researched, designed, advertised, promoted, marketed and/or

labeled and/or was responsible for its creation, research, design, advertisement, promotion,

marketing and labeling.

         130.      At all relevant times, Defendant ASP caused the CIDEX that was used in

Plaintiff’s procedure to be created, researched, designed, advertised, promoted, marketed, and

labeled and/or was responsible for its creation, research, design, advertisement, promotion,

marketing and labeling.

         131.      The CIDEX used in the Plaintiff’s procedure was expected to and did reach the

usual consumers, handlers, and persons coming into contact with said product until it ultimately

reached Athens Gastroenterology Association without any change in the manner in which it was

designed, produced, manufactured, advertised and/or labeled by Defendant ASP.

         132.      The CIDEX used in the procedure performed on Plaintiff Stephen Collett had not

been substantially changed, altered or modified in design, manufacture or labeling from when it

was first received by Athens Gastroenterology Association from Defendant ASP through the date

it was used during Plaintiff’s procedure.

         133.      The CIDEX created, designed, researched, advertised, promoted, marketed,

and/or labeled by Defendant ASP was defective in design or formulation in that its foreseeable




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risks, including, but not limited to, the risk of microbial contamination and the spread of

infection from one patient to another, exceeded its benefits or utility.

         134.      The CIDEX created, designed, researched, advertised, promoted, marketed and/or

labeled by Defendant ASP was defective in design and/or formulation, in that Defendant ASP

exposed patients, particularly the Plaintiff Stephen Collett, to a greater risk of danger than that to

which they should have been exposed.

         135.      The CIDEX created, designed, researched, advertised, promoted, marketed and/or

labeled by Defendant ASP was defective in design and/or formulation, in that it was

unreasonably dangerous due to, among other things, its increased risk of microbial contamination

and the spread of infection from one patient to another, and it was more dangerous than an

ordinary consumer would expect.

         136.      The CIDEX created, designed, researched, advertised, promoted, marketed and/or

labeled by Defendant ASP was defective in design or formulation in that it was not reasonably

fit, suitable, or safe for its intended purpose because its design does not kill trapped contaminants

from one patient and spread them to other patients subsequently exposed to a colonoscope.

         137.      The CIDEX created, designed, researched, advertised, promoted, marketed and/or

labeled by Defendant ASP was defective in design in that it failed to warn of the increased risk

of microbial contamination and the spread of infection from one patient to another, and it was

more dangerous than an ordinary consumer would expect.

         138.      At all times herein mentioned, the CIDEX was defectively designed and unsafe,

and Defendant ASP knew or had reason to know that CIDEX was defectively designed and




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unsafe, especially when used in the form and manner as provided and/or directed by the

Defendant ASP.

           139.    Defendant ASP knew, or should have known, that at all times herein mentioned

CIDEX was defectively designed, in that it allowed for microbial contamination and the spread

of infection from one patient to another patient, and was and is inherently dangerous and unsafe.

           140.    Defendant ASP with its knowledge of the design defects associated with CIDEX

voluntarily designed and/or continued marketing CIDEX in a dangerous condition for use by

healthcare providers in their patients, and particularly by Dr. Williams in the Plaintiff Stephen

Collett.

           141.    Defendant ASP, with its knowledge of the design defects associated with CIDEX,

failed to inform healthcare facilities, physicians, the medical community and/or the FDA of the

CIDEX’s design defects.

           142.    Defendant ASP, with its knowledge of the design defects associated with the

CIDEX, failed to inform Plaintiff, Athens Gastroenterology Association, Dr. Williams and/or his

other healthcare providers of CIDEX’s design defects.

           143.    At all relevant times, a technologically feasible alternative design that was a

marketable reality was available for Defendant ASP to implement that would have made the

CIDEX safer than the design of the CIDEX that was used in Plaintiff’s procedure, and this

design would have been as equally efficacious as the CIDEX that was used in Plaintiff’s

procedure.




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         144.      Had Defendant ASP implemented the aforementioned design that was feasible

and a marketable reality, the foreseeable risks of harm presented by CIDEX that it did adopt

would have been reduced.

         145.      At all relevant times, the defectively designed CIDEX created an unreasonable

risk of harm to patients, including the Plaintiffs, and Defendant ASP is therefore strictly liable in

tort for the injuries they have sustained.

         146.      The defective design of the CIDEX that was used in Plaintiff Stephen Collett’s

procedure caused microbial contaminants that were retained in the CF-180AL Scope to be

transferred to him from the CF-180AL Scope during his procedure, which resulted in him

contracting HIV.

         147.      As a direct and proximate result of the defective design of the CIDEX used in

Plaintiff Stephen Collett’s procedure, Plaintiffs Stephen Collett and Felicity Collett were caused

to suffer severe and personal injuries, including, but not limited to, HIV, AIDS, and diminished

enjoyment of life, as well as the need for lifelong medical treatment.

         148.      If not for the dangerously defective design of the CIDEX, described herein,

Plaintiffs would not have been harmed and would not have sustained HIV, AIDS, and all other

injuries associated therewith.

         149.      The defectively designed CIDEX that was used in the performed on the Plaintiff

Stephen Collett was the direct and proximate cause of Plaintiffs’ injuries as set forth herein.

         150.      The defective design of the CIDEX was a substantial factor in causing Plaintiffs

Stephen Collett’s and Felicity Collett’s injuries.

         151.      By reason of the foregoing, Plaintiffs have been damaged.



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             FIFTH CAUSE OF ACTION AS AGAINST DEFENDANT OLYMPUS
              (STRICT PRODUCTS LIABILITY - MANUFACTURING DEFECT)

         152.      Plaintiffs repeat, reiterate, and reallege each and every allegation in Paragraphs 1

through 151, with the same force and effect as if more fully set forth herein.

         153.      At all relevant times, the CF-180AL Scope used on Plaintiff Stephen Collett

during his procedure was unsafe, defective, and inherently dangerous as manufactured.

         154.      At the time of Plaintiff Stephen Collett’s exposure to the defectively

manufactured CF-180AL Scope during his procedure, the CF-180AL Scope was being used for

the purposes and in a manner normally intended.

         155.      The Plaintiff, Dr. Williams, Athens Gastroenterology Association, and/or his

other healthcare providers could not, by the exercise of reasonable care, have discovered the CF-

180AL Scope’s manufacturing defects herein mentioned and/or perceived its danger.

         156.      At all relevant times, Defendant Olympus caused the CF-180AL Scope that was

used in the procedure performed on the Plaintiff Stephen Collett to be manufactured and

produced and/or was responsible for its manufacture and production.

         157.      The CF-180AL Scope used on the Plaintiff during his procedure was defective in

that the CF-180AL Scope left the hands of Defendant Olympus in a defectively manufactured

condition and was unreasonably dangerous to its intended users.

         158.      The CF-180AL Scope used in the Plaintiff’s procedure was expected to and did

reach the intended, usual consumers, handlers, and persons coming into contact with said product

until it ultimately reached Athens Gastroenterology Association without substantial change in the

condition in which it was produced and/or manufactured by the Defendant Olympus.




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         159.      The CF-180AL Scope used in the procedure performed on the Plaintiff Stephen

Collett had not been substantially changed, altered or modified from when Athens

Gastroenterology Association had first received it from Defendant Olympus until the time his

procedure was performed.

         160.      At all relevant times, the defectively manufactured CF-180AL Scope used in the

procedure performed on Plaintiff Stephen Collett created an unreasonable risk of harm to the

Plaintiff, and Defendant Olympus is therefore strictly liable in tort for the injuries he sustained.

         161.      By reason of the foregoing, Plaintiffs have been damaged.

                SIXTH CAUSE OF ACTION AS AGAINST DEFENDANT ASP
              (STRICT PRODUCTS LIABILITY - MANUFACTURING DEFECT)

         162.      Plaintiffs repeat, reiterate, and reallege each and every allegation in Paragraphs 1

through 161, with the same force and effect as if more fully set forth herein.

         163.      At all relevant times, the CIDEX used on the scope used on Plaintiff Stephen

Collett during his procedure was unsafe, defective, and inherently dangerous as manufactured.

         164.      At the time of Plaintiff Stephen Collett’s exposure to the defectively

manufactured CIDEX during his procedure, the CIDEX was being used for the purposes and in a

manner normally intended.

         165.      The Plaintiff, Dr. Williams, Athens Gastroenterology Association, and/or his

other healthcare providers could not, by the exercise of reasonable care, have discovered the

CIDEX’s manufacturing defects herein mentioned and/or perceived its danger.

         166.      At all relevant times, Defendant ASP caused the CIDEX that was used in the

procedure performed on the Plaintiff Stephen Collett to be manufactured and produced and/or

was responsible for its manufacture and production.


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         167.      The CIDEX used on the Plaintiff Stephen Collett during his procedure was

defective in that the CIDEX left the hands of Defendant ASP in a defectively manufactured

condition and was unreasonably dangerous to its intended users.

         168.      The CIDEX used in the Plaintiff’s procedure was expected to and did reach the

intended, usual consumers, handlers, and persons coming into contact with said product until it

ultimately reached Athens Gastroenterology Association without substantial change in the

condition in which it was produced and/or manufactured by the Defendant ASP.

         169.      The CIDEX used in the procedure performed on the Plaintiff Stephen Collett had

not been substantially changed, altered or modified from when Athens Gastroenterology

Association had first received it from Defendant ASP until the time his procedure was

performed.

         170.      At all relevant times, the defectively manufactured CIDEX used in the procedure

performed on Plaintiff Stephen Collett created an unreasonable risk of harm to the Plaintiffs, and

Defendant ASP is therefore strictly liable in tort for the injuries they sustained.

         171.      By reason of the foregoing, Plaintiff has been damaged as against each and every

Defendant in the sum of TEN MILLION DOLLARS ($10,000,000.00).

                SEVENTH CAUSE OF ACTION AS AGAINST DEFENDANT OLYMPUS
                     (STRICT PRODUCTS LIABILITY - FAILURE TO WARN)

         172.      Plaintiff repeats, reiterates, and realleges each and every allegation in Paragraphs

1 through 171, with the same force and effect as if more fully set forth herein.

         173.      At all relevant times, the CF-180AL Scope used on the Plaintiff during his

procedure was unsafe, defective, and inherently dangerous as advertised, marketed, promoted,

packaged and/or labeled due to inadequate warnings and/or instructions.


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         174.      At all relevant times, the reprocessing instructions associated with the CF-180AL

Scope used on the Plaintiff during his procedure were unsafe, defective, and inherently

dangerous due to inadequate labels, warnings and/or instructions.

         175.      At the time of the Plaintiff’s exposure to the defectively marketed, promoted,

packaged and/or labeled CF-180AL Scope during his procedure, the CF-180AL Scope was being

used for the purposes and in a manner normally intended.

         176.      The Plaintiff, Dr. Williams, Athens Gastroenterology Association, and/or his

other healthcare providers could not, by the exercise of reasonable care, have discovered the

defects in the CF-180AL Scope’s marketing, promotion, packaging and/or labeling herein

mentioned and perceived their danger.

         177.      The Plaintiff, Dr. Williams, Athens Gastroenterology Association, and/or his

other healthcare providers could not, by the exercise of reasonable care, have discovered the

defects in the reprocessing instructions associated with the same CF-180AL Scope and perceived

their danger.

         178.      Upon information and belief, Plaintiff’s healthcare providers, including, but not

limited to, Dr. Williams and Athens Gastroenterology Association, would not have used the CF-

180AL Scope in his procedure had they known of the risk of microbial contamination and the

spread of these contaminants from one patient to another associated with the CF-180AL Scopes

and/or its reprocessing instructions.

         179.      Upon information and belief, had Plaintiff Stephen Collett’s healthcare providers,

including, but not limited to, Dr. Williams and Athens Gastroenterology Association, known of

the risk of microbial contamination and the spread of these contaminants from one patient to



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another associated with the CF-180AL Scopes and/or its reprocessing instructions, they would

have warned the Plaintiff of said risk.

         180.      Plaintiff would not have allowed Dr. Williams, Athens Gastroenterology

Association, and/or any other healthcare provider to use the CF-180AL Scope in his procedure

had he known of the risk of microbial contamination and the spread of these contaminants from

one patient to another associated with the CF-180AL Scopes and/or its reprocessing instructions.

         181.      At all relevant times, Defendant Olympus caused all endoscopes, including the

CF-180AL Scopes and the one used in Plaintiff Stephen Collett’s procedure, to be advertised,

promoted, marketed and/or labeled and/or was responsible for their advertisement, promotion,

marketing and labeling.

         182.      At all relevant times, Defendant Olympus caused the reprocessing instructions

associated with the CF-180AL Scopes, including the CF-180AL Scope used in Plaintiff Stephen

Collett’s procedure, to be drafted and/or created and/or was responsible for their drafting and/or

creation.

         183.      At all relevant times, Defendant Olympus had an ongoing duty to warn and/or

advise the Plaintiff, Dr. Williams, Athens Gastroenterology Association, his other healthcare

providers, the medical community and the general public in a timely manner of the risks

associated with its CF-180AL Scopes, including, but not limited to, the risk of microbial

contamination and the spread of these contaminants from one patient to another.

         184.      At all relevant times, Defendant Olympus had an ongoing duty to warn and/or

advise the Plaintiff, Dr. Williams, Athens Gastroenterology Association, his other healthcare

providers, the medical community and the general public in a timely manner of that the



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reprocessing instructions associated with the CF-180AL Scope were inadequate in that they

created of serious and dangerous side effects, including, but not limited to, microbial

contamination and the spread of these contaminants from one patient to another.

         185.      Defendant Olympus knew or should have known that the CF-180AL Scope and/or

its reprocessing instructions created a risk of serious and dangerous side effects, including, but

not limited to, microbial contamination and the spread of these contaminants from one patient to

another that could lead to severe and life-threatening personal injuries which are permanent and

lasting in nature, and Defendant Olympus failed to adequately warn of said risk.

         186.      Defendant Olympus knew or should have known that the CF-180AL Scope and/or

its reprocessing instructions created a risk of serious and dangerous side effects, including, but

not limited to, microbial contamination and the spread of these contaminants from one patient to

another that could lead to severe and life-threatening personal injuries which are permanent and

lasting in nature, and Defendant Olympus failed to provide adequate warnings and/or

instructions regarding the appropriate method for reprocessing, cleaning and/or sanitizing the

CF-180AL Scopes.

         187.      Defendant Olympus knew or should have known it had failed to appropriately

and/or adequately test the CF-180AL Scope and/or its reprocessing instructions for serious and

dangerous side effects, including, but not limited to, microbial contamination and the spread of

these contaminants from one patient to another that could lead to severe and life-threatening

personal injuries which are permanent and lasting in nature, and Defendant Olympus failed to

warn healthcare providers of the product’s inadequate testing.




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         188.      After Defendant Olympus knew or should have known that the CF-180AL Scope

and/or its reprocessing instructions created a risk of serious and dangerous side effects,

including, but not limited to, microbial contamination and the spread of these contaminants from

one patient to another that could lead to severe and life-threatening personal injuries which are

permanent and lasting in nature, Defendant Olympus continued to improperly advertise, market

and/or promote the CF-180AL Scopes.

         189.      Defendant Olympus failed to fulfill the aforementioned duty to warn and/or

advise for years after learning of the risks associated with the CF-180AL Scopes in that it,

among other things, failed to inform the Plaintiff, Dr. Williams, Athens Gastroenterology

Association, his other healthcare providers, the medical community and/or the general public of

the risk of microbial contamination and the spread of these contaminant from one patient to

another associated with their CF-180AL Scopes, and failed to adequately and appropriately

inform Dr. Williams, Athens Gastroenterology Association, Plaintiff Stephen Collett’s other

healthcare providers, the medical community and/or the general public of the accurate and

appropriate method for reprocessing their CF-180AL Scopes.

         190.      The failure of Defendant Olympus to promptly and adequately warn the Plaintiff,

Dr. Williams, Athens Gastroenterology Association, his other healthcare providers, the medical

community and/or the general public of the risk of microbial contamination and the spread of

these contaminants from one patient to another associated with the CF-180AL Scopes and/or its

reprocessing instructions prevented Plaintiff Stephen Collett, Dr. Williams, Athens

Gastroenterology Association, and/or his other healthcare providers from making an informed

choice regarding the use of this instrument in his procedure.



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         191.      The failure of Defendant Olympus to promptly and adequately warn Athens

Gastroenterology Association of the risks associated with the CF-180AL Scopes and/or its

reprocessing instruction also prevented Athens Gastroenterology Association from making an

informed choice regarding the purchase and/or retention of the CF-180AL Scope as well as

regarding the manner in which the instrument was reprocessed.

         192.      Upon information and belief, had Defendant Olympus promptly and adequately

warned of the aforementioned risks, such warnings would have been heeded by Athens

Gastroenterology Association in that the clinic would have stopped supplying CF-180AL Scopes

for use by physicians, instead providing them with safer endoscope models, and/or would have

reevaluated their reprocessing protocol for the CF-180AL Scope.

         193.      Had Plaintiff been warned by Defendant Olympus of the aforementioned risk, he

would have sought alternate treatment that did not carry the risk of microbial contamination and

the spread of these contaminants from one patient to another, such as the use of a different

colonoscope, and, thus, would have avoided the aforesaid injuries.

         194.      Due to Defendant Olympus’s failure to warn, a defectively marketed, packaged

and labeled CF-180AL Scope was used in Plaintiff Stephen Collett’s procedure and caused

microbial contaminants to be retained in the CF-180AL Scope and then transferred to him during

his procedure, which later resulted in HIV infection and AIDS.

         195.      Due to Defendant Olympus’s failure to warn of the risk associated with their CF-

180AL Scope and/or its reprocessing instructions, Defendant Olympus is strictly liable in tort to

Plaintiff Stephen Collett.




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         196.      At all relevant times, the defectively marketed, packaged and labeled CF-180AL

Scope used in the procedure performed on the Plaintiff Stephen Collett created an unreasonable

risk of harm to the Plaintiff, and Defendant Olympus is therefore strictly liable in tort for the

injuries he sustained.

         197.      Defendant Olympus’s failure to warn of the risks associated with the CF-180AL

Scope and/or its reprocessing instructions is the direct and proximate cause of Plaintiff Stephen

Collett’s injuries.

         198.      As a direct and proximate result of the defectively marketed, packaged and

labeled CF-180AL Scope used in his procedure, the Plaintiff was caused to suffer severe and

personal injuries, including, but not limited to, HIV, AIDS, and diminished enjoyment of life, as

well as the need for lifelong medical monitoring.

         199.      The defectively marketed and packaged CF-180AL Scope that was used in the

procedure performed on the Plaintiff Stephen Collett was the direct and proximate cause of

Plaintiff’s injuries as set forth herein.

         200.      The defectively marketed and packaged CF-180AL Scope that was used in the

procedure performed on the Plaintiff Stephen Collett was a substantial factor in causing

Plaintiffs’ injuries.

         201.      By reason of the foregoing, Plaintiffs have been damaged.

                 EIGHTH CAUSE OF ACTION AS AGAINST DEFENDANT ASP
                   (STRICT PRODUCTS LIABILITY - FAILURE TO WARN)

         202.      Plaintiff repeats, reiterates, and realleges each and every allegation in Paragraphs

1 through 201, with the same force and effect as if more fully set forth herein.




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         203.      At all relevant times, the CIDEX used on the Plaintiff during his procedure was

unsafe, defective, and inherently dangerous as advertised, marketed, promoted, packaged and/or

labeled due to inadequate warnings and/or instructions.

         204.      At all relevant times, the reprocessing instructions associated with the CIDEX

used on the Plaintiff during his procedure were unsafe, defective, and inherently dangerous due

to inadequate labels, warnings and/or instructions.

         205.      At the time of the Plaintiff’s exposure to the infected scope during his procedure,

the CIDEX was being used for the purposes and in a manner normally intended.

         206.      The Plaintiff, Dr. Williams, Athens Gastroenterology Association, and/or his

other healthcare providers could not, by the exercise of reasonable care, have discovered the

defects in CIDEX’s marketing, promotion, packaging and/or labeling herein mentioned and

perceived their danger.

         207.      The Plaintiff, Dr. Williams, Athens Gastroenterology Association, and/or his

other healthcare providers could not, by the exercise of reasonable care, have discovered the

defects in the reprocessing instructions associated with CIDEX and perceived their danger.

         208.      Upon information and belief, Plaintiff’s healthcare providers, including, but not

limited to, Dr. Williams and Athens Gastroenterology Association, would not have used CIDEX

in his procedure had they known of the risk of microbial contamination and the spread of these

contaminants from one patient to another associated with the colonoscopes treated with CIDEX

and/or its reprocessing instructions.

         209.      Upon information and belief, had Plaintiff Stephen Collett’s healthcare providers,

including, but not limited to, Dr. Williams and Athens Gastroenterology Association, known of



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the risk of microbial contamination and the spread of these contaminants from one patient to

another associated with the use of CIDEX and/or its reprocessing instructions, they would have

warned the Plaintiff of said risk.

         210.      Plaintiff would not have allowed Dr. Williams, Athens Gastroenterology

Association, and/or any other healthcare provider to use the colonoscope in his procedure had he

known of the risk of microbial contamination and the spread of these contaminants from one

patient to another associated with CIDEX and/or its reprocessing instructions.

         211.      At all relevant times, Defendant ASP caused CIDEX to be advertised, promoted,

marketed and/or labeled and/or was responsible for its advertisement, promotion, marketing and

labeling.

         212.      At all relevant times, Defendant ASP caused the reprocessing instructions

associated with CIDEX, including the CF-180AL Scope used in Plaintiff Stephen Collett’s

procedure, to be drafted and/or created and/or was responsible for their drafting and/or creation.

         213.      At all relevant times, Defendant ASP had an ongoing duty to warn and/or advise

the Plaintiff, Dr. Williams, Athens Gastroenterology Association, his other healthcare providers,

the medical community and the general public in a timely manner of the risks associated with

CIDEX, including, but not limited to, the risk of microbial contamination and the spread of these

contaminants from one patient to another.

         214.      At all relevant times, Defendant ASP had an ongoing duty to warn and/or advise

the Plaintiff, Dr. Williams, Athens Gastroenterology Association, his other healthcare providers,

the medical community and the general public in a timely manner of that the reprocessing

instructions associated with the CIDEX Scope were inadequate in that they created of serious



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and dangerous side effects, including, but not limited to, microbial contamination and the spread

of these contaminants from one patient to another.

         215.      Defendant ASP knew or should have known that CIDEX and/or its reprocessing

instructions created a risk of serious and dangerous side effects, including, but not limited to,

microbial contamination and the spread of these contaminants from one patient to another that

could lead to severe and life-threatening personal injuries which are permanent and lasting in

nature, and Defendant ASP failed to adequately warn of said risk.

         216.      Defendant ASP knew or should have known that CIDEX and/or its reprocessing

instructions created a risk of serious and dangerous side effects, including, but not limited to,

microbial contamination and the spread of these contaminants from one patient to another that

could lead to severe and life-threatening personal injuries which are permanent and lasting in

nature, and Defendant ASP failed to provide adequate warnings and/or instructions regarding the

appropriate method for reprocessing, cleaning and/or sanitizing colonoscopes using CIDEX.

         217.      Defendant ASP knew or should have known it had failed to appropriately and/or

adequately test CIDEX and/or its reprocessing instructions for serious and dangerous side

effects, including, but not limited to, microbial contamination and the spread of these

contaminants from one patient to another that could lead to severe and life-threatening personal

injuries which are permanent and lasting in nature, and Defendant ASP failed to warn healthcare

providers of the product’s inadequate testing.

         218.      After Defendant ASP knew or should have known that CIDEX and/or its

reprocessing instructions created a risk of serious and dangerous side effects, including, but not

limited to, microbial contamination and the spread of these contaminants from one patient to



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another that could lead to severe and life-threatening personal injuries which are permanent and

lasting in nature, Defendant ASP continued to improperly advertise, market and/or promote

CIDEX.

         219.      Defendant ASP failed to fulfill the aforementioned duty to warn and/or advise for

years after learning of the risks associated with CIDEX in that it, among other things, failed to

inform the Plaintiff, Dr. Williams, Athens Gastroenterology Association, his other healthcare

providers, the medical community and/or the general public of the risk of microbial

contamination and the spread of these contaminant from one patient to another associated with

CIDEX, and failed to adequately and appropriately inform Dr. Williams, Athens

Gastroenterology Association, Plaintiff Stephen Collett’s other healthcare providers, the medical

community and/or the general public of the accurate and appropriate method for reprocessing

colonoscopes using CIDEX.

         220.      The failure of Defendant ASP to promptly and adequately warn the Plaintiff, Dr.

Williams, Athens Gastroenterology Association, his other healthcare providers, the medical

community and/or the general public of the risk of microbial contamination and the spread of

these contaminants from one patient to another associated with CIDEX and/or its reprocessing

instructions prevented Plaintiff Stephen Collett, Dr. Williams, Athens Gastroenterology

Association, and/or his other healthcare providers from making an informed choice regarding the

use of this instrument in his procedure.

         221.      The failure of Defendant ASP to promptly and adequately warn Athens

Gastroenterology Association of the risks associated with CIDEX and/or its reprocessing

instruction also prevented Athens Gastroenterology Association from making an informed choice



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regarding the purchase of CIDEX as well as regarding the manner in which instruments are

reprocessed.

         222.      Upon information and belief, had Defendant ASP promptly and adequately

warned of the aforementioned risks, such warnings would have been heeded by Athens

Gastroenterology Association in that the clinic would have stopped supplying CIDEX for use by

physicians, instead providing them with safer endoscope models, and/or would have reevaluated

their reprocessing protocol for colonoscopes.

         223.      Had Plaintiff been warned by Defendant ASP of the aforementioned risk, he

would have sought alternate treatment that did not carry the risk of microbial contamination and

the spread of these contaminants from one patient to another, such as the use of a different

colonoscope, and, thus, would have avoided the aforesaid injuries.

         224.      Due to Defendant ASP’S failure to warn, a defectively marketed, packaged and

CIDEX used on the colonoscope used in Plaintiff Stephen Collett’s procedure and caused

microbial contaminants to be retained in the colonoscope and then transferred to him during his

procedure, which later resulted in HIV infection and AIDS.

         225.      Due to Defendant ASP’s failure to warn of the risk associated with CIDEX and/or

its reprocessing instructions, Defendant ASP is strictly liable in tort to Plaintiffs Stephen Collett

and Felicity Collett.

         226.      At all relevant times, the defectively marketed, packaged and labeled CIDEX

used on the colonoscope used in the procedure performed on the Plaintiff Stephen Collett created

an unreasonable risk of harm to the Plaintiffs, and Defendant ASP is therefore strictly liable in

tort for the injuries they sustained.



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         227.      Defendant ASP’s failure to warn of the risks associated with CIDEX and/or its

reprocessing instructions is the direct and proximate cause of Plaintiffs Stephen Collett’s and

Felicity Collett’s injuries.

         228.      As a direct and proximate result of the defectively marketed, packaged and

labeled CIDEX used on the colonoscope used in his procedure, the Plaintiffs were caused to

suffer severe and personal injuries, including, but not limited to, HIV, AIDS, and diminished

enjoyment of life, as well as the need for lifelong medical monitoring.

         229.      The defectively marketed and packaged CIDEX that was used on the colonoscope

used in the procedure performed on the Plaintiff Stephen Collett was the direct and proximate

cause of Plaintiffs’ injuries as set forth herein.

         230.      The defectively marketed and packaged CIDEX that was used on the colonoscope

used in the procedure performed on the Plaintiff Stephen Collett was a substantial factor in

causing Plaintiffs’ injuries.

         231.      By reason of the foregoing, Plaintiffs have been damaged.

                  TENTH CAUSE OF ACTION AS AGAINST DEFENDANT OLYMPUS
                        (FRAUDULENT MISREPRESENTATION/DECEIT)

         232.      Plaintiffs repeat, reiterate, and reallege each and every allegation in Paragraphs 1

through 231, with the same force and effect as if more fully set forth herein.

         233.      Defendant Olympus had a duty when disseminating information to the public,

including the Plaintiff Stephen Collett and his healthcare providers, to disseminate truthful

information and a parallel duty not to deceive the public, including the Plaintiff and his

healthcare providers.




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         234.      The information distributed to the public, including the Plaintiff and his

healthcare providers, by Defendant Olympus through its websites, product brochures,

reprocessing instructions, and/or sales representatives contained material representations of fact

and/or omissions.

         235.      Specifically, in the product brochures that were distributed to Athens

Gastroenterology Association by OAI sales representatives prior to October 2011, which are in

the possession of Defendant Olympus, Defendant Olympus represented that the CF-180AL was a

superior instrument to its competitors.

         236.      Specifically, as to the reprocessing instructions that were used with respect to the

CF-180AL Scope used in Plaintiff’s Procedure, the entire set of instructions were representations

made by Defendant Olympus to the medical personnel at Athens Gastroenterology Association

that if they followed the instructions, the CF-180AL Scope would be effectively cleaned and

sanitized.

         237.      The aforementioned representations distributed to the Plaintiff’s healthcare

providers, including, but not limited to, Dr. Williams and Athens Gastroenterology Association,

by Defendant Olympus intentionally included representations that the CF-180AL Scope was safe

and effective for its intended use as a colonoscope.

         238.      The aforementioned representations distributed to the Plaintiff’s healthcare

providers, including, but not limited to, Dr. Williams and Athens Gastroenterology Association,

by Defendant Olympus included representations that the CF-180AL Scope was superior to other

endoscopes on the market.




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         239.      The aforementioned representations distributed to the Plaintiff’s healthcare

providers, including, but not limited to, Dr. Williams and Athens Gastroenterology Association,

by Defendant Olympus intentionally included representations that the CF-180AL Scope could be

effectively cleaned and sanitized.

         240.      The aforementioned representations distributed to the Plaintiff’s healthcare

providers, including, but not limited to, Dr. Williams and Athens Gastroenterology Association,

by Defendant Olympus intentionally included representations that the CF-180AL Scope was a

better alternative for use in procedures than other endoscopes, thereby encouraging the use of

CF-180AL scopes over other endoscopes.

         241.      The aforementioned representations made by Defendant Olympus were, in fact,

false.

         242.      When the aforementioned representations were made by Defendant Olympus, it

knew those representations to be false and it willfully, wantonly and recklessly disregarded

whether the representations were true.

         243.      The aforementioned representations were made by Defendant Olympus with the

intent of defrauding and deceiving Plaintiff’s healthcare providers, including, but not limited to,

Dr. Williams and Athens Gastroenterology Association, as well as the FDA and the general

public, and were made with the intent of inducing them to recommend and/or use the CF-180AL

Scope in procedures, such as the one performed on Plaintiff Stephen Collett, all of which evinced

a callous, reckless, willful, wanton and/or depraved indifference to the health, safety and welfare

of the Plaintiff herein.




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         244.      The aforesaid representations were made by Defendant Olympus beginning from

when the CF-180AL Scope was first marketed to Plaintiff’s healthcare providers, including, but

not limited to, Dr. Williams and Athens Gastroenterology Association, up through and until the

Plaintiff’s procedure place.

         245.      Information about the exact dates on which these representations were made is in

the possession, custody and control of Defendant Olympus.

         246.      During the time period the aforesaid representations were made by Defendant

Olympus, Plaintiff’s healthcare providers, including, but not limited to, Dr. Williams and Athens

Gastroenterology Association, were unaware of the falsity of said representations and reasonably

believed them to be true.

         247.      The aforesaid representations were made by Defendant Olympus in order to

induce the Plaintiff and/or his respective healthcare professionals, including Dr. Williams and

Athens Gastroenterology Association, to rely upon said misrepresentations and use the CF-

180AL Scope in Plaintiff Stephen Collett’s procedure.

         248.      In reliance upon Defendant Olympus’s representations, Plaintiff’s healthcare

providers, including, but not limited to, Dr. Williams and Athens Gastroenterology Association,

were induced to and did use the CF-180AL Scope in Plaintiff’s procedure, thereby causing the

Plaintiff Stephen Collett to sustain severe and personal injuries, including, but not limited to,

HIV, AIDS, and diminished enjoyment of life, as well as the need for lifelong medical treatment.

         249.      Defendant Olympus knew and was aware or should have been aware that the CF-

180AL Scope had not been sufficiently tested, was defective in nature, and/or that it lacked

adequate and/or sufficient warnings and reprocessing instructions.



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         250.      Defendant Olympus knew or should have known that the CF-180AL Scope had a

potential to, could, and would cause severe and grievous injury to the users of said product, and

that it was inherently dangerous in a manner that exceeded any purported, inaccurate, and/or

down-played warnings.

         251.      Defendant Olympus brought the CF-180AL Scope to the market, and acted

fraudulently, willfully, wantonly and maliciously to the detriment of the Plaintiff.

         252.      Defendant Olympus’s aforementioned conduct constitutes fraud and deceit.

         253.      As a result of Defendant Olympus’s fraudulent misrepresentations and deceit,

Plaintiff Stephen Collett was caused to suffer severe and personal injuries, including, but not

limited to, HIV, AIDS, and diminished enjoyment of life, as well as the need for lifelong medical

treatment.

         254.      By reason of the foregoing, Plaintiffs have been damaged.

              ELEVENTH CAUSE OF ACTION AS AGAINST DEFENDANT ASP
                   (FRAUDULENT MISREPRESENTATION/DECEIT)

         255.      Plaintiffs repeat, reiterate, and reallege each and every allegation in Paragraphs 1

through 254, with the same force and effect as if more fully set forth herein.

         256.      Defendant ASP had a duty when disseminating information to the public,

including the Plaintiff Stephen Collett and his healthcare providers, to disseminate truthful

information and a parallel duty not to deceive the public, including the Plaintiff and his

healthcare providers.

         257.      The information distributed to the public, including the Plaintiff and his

healthcare providers, by Defendant ASP through its websites, product brochures, reprocessing




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instructions, and/or sales representatives contained material representations of fact and/or

omissions.

         258.      Specifically, as to the reprocessing instructions that were used with respect to the

CIDEX used in Plaintiff’s procedure, the entire set of instructions were representations made by

Defendant ASP to the medical personnel at Athens Gastroenterology Association that if they

followed the instructions, the colonoscope would be effectively cleaned and sanitized.

         259.      The aforementioned representations distributed to the Plaintiff’s healthcare

providers, including, but not limited to, Dr. Williams and Athens Gastroenterology Association,

by Defendant ASP intentionally included representations that the CIDEX was safe and effective

for its intended use as a colonoscope disinfectant.

         260.      The aforementioned representations distributed to the Plaintiff’s healthcare

providers, including, but not limited to, Dr. Williams and Athens Gastroenterology Association,

by Defendant ASP intentionally included representations that CIDEX could effectively clean and

sanitize colonoscopes.

         261.      The aforementioned representations made by Defendant ASP were, in fact, false.

         262.      When the aforementioned representations were made by Defendant ASP, it knew

those representations to be false and it willfully, wantonly and recklessly disregarded whether the

representations were true.

         263.      The aforementioned representations were made by Defendant ASP with the intent

of defrauding and deceiving Plaintiff’s healthcare providers, including, but not limited to, Dr.

Williams and Athens Gastroenterology Association, as well as the FDA and the general public,

and were made with the intent of inducing them to recommend and/or use CIDEX in cleaning



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instruments used in procedures, such as the one performed on Plaintiff Stephen Collett, all of

which evinced a callous, reckless, willful, wanton and/or depraved indifference to the health,

safety and welfare of the Plaintiffs herein.

         264.      The aforesaid representations were made by Defendant ASP beginning from when

CIDEX was first marketed to Plaintiff’s healthcare providers, including, but not limited to, Dr.

Williams and Athens Gastroenterology Association, up through and until the Plaintiff’s

procedure. The aforementioned representations made by Defendant ASP continue today in its

marketing materials and on its website.         See https://www.emea.aspjj.com/products/manual-

solutions/cidex.

         265.      Information about the exact dates on which these representations were made is in

the possession, custody and control of Defendant ASP.

         266.      During the time period the aforesaid representations were made by Defendant

ASP, Plaintiff’s healthcare providers, including, but not limited to, Dr. Williams and Athens

Gastroenterology Association, were unaware of the falsity of said representations and reasonably

believed them to be true.

         267.      The aforesaid representations were made by Defendant ASP in order to induce the

Plaintiff and/or his respective healthcare professionals, including Dr. Williams and Athens

Gastroenterology Association, to rely upon said misrepresentations and use CIDEX on the

instrument used in Plaintiff Stephen Collett’s procedure.

         268.      In reliance upon Defendant ASP’s representations, Plaintiff’s healthcare

providers, including, but not limited to, Dr. Williams and Athens Gastroenterology Association,

were induced to and did use CIDEX on the CF-180AL Scope in Plaintiff’s procedure, thereby



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causing the Plaintiff Stephen Collett to sustain severe and personal injuries, including, but not

limited to, HIV, AIDS, and diminished enjoyment of life, as well as the need for lifelong medical

treatment.

         269.      Defendant ASP knew and was aware or should have been aware that the CIDEX

had not been sufficiently tested, was defective in nature, and/or that it lacked adequate and/or

sufficient warnings and reprocessing instructions.

         270.      Defendant ASP knew or should have known that the CIDEX used on the

colonoscope had a potential to, could, and would cause severe and grievous injury to the users of

said product, and that it was inherently dangerous in a manner that exceeded any purported,

inaccurate, and/or down-played warnings.

         271.      Defendant ASP brought the CIDEX to the market, and acted fraudulently,

willfully, wantonly and maliciously to the detriment of the Plaintiffs.

         272.      Defendant ASP’s aforementioned conduct constitutes fraud and deceit.

         273.      As a result of Defendant ASP’s fraudulent misrepresentations and deceit,

Plaintiffs Stephen Collett and Felicity Collett were caused to suffer severe and personal injuries,

including, but not limited to, HIV, AIDS, and diminished enjoyment of life, as well as the need

for lifelong medical treatment.

         274.      By reason of the foregoing, Plaintiffs have been damaged.

               TWELFTH CAUSE OF ACTION AS AGAINST DEFENDANT OLYMPUS
                        (FRAUDULENT CONCEALMENT/DECEIT)

         275.      Plaintiffs repeat, reiterate, and reallege each and every allegation in Paragraphs 1

through 274, with the same force and effect as if more fully set forth herein.




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         276.      Defendant Olympus conducted and/or should have conducted testing and research

on the CF-180AL Scope.

         277.      As a result of Defendant Olympus’s research and testing, or lack thereof,

Defendant Olympus intentionally omitted certain results of this research and testing from the

Plaintiff, his healthcare providers, including Dr. Williams and Athens Gastroenterology

Association, and the general public.

         278.      At all times during the course of dealing between Defendant Olympus and

Plaintiff’s healthcare providers, including, but not limited to, Dr. Williams and Athens

Gastroenterology Association, Defendant Olympus concealed the serious and grave health risk

that could occur by virtue of use of the CF-180AL Scope for its intended purpose, particularly

the risk of microbial contamination and the spread of these contaminants from one patient to

another associated with the CF-180AL Scope and/or its reprocessing instructions.

         279.      Defendant Olympus concealment of the serious and grave health risks associated

with the CF-180AL Scope and/or its reprocessing instructions was willful, wanton and/or

reckless.

         280.      Upon information and belief, Defendant Olympus intentionally suppressed,

ignored and disregarded test results not favorable to the Defendants, and results that

demonstrated that the CF-180AL Scope was not safe as other endoscopes.

         281.      In representations made to Plaintiff’s healthcare providers, as identified herein,

including Dr. Williams, via its website, product brochures, reprocessing instructions and sales

representatives, Defendant Olympus fraudulently concealed and intentionally omitted the

following material information:



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                   (a)   that the CF-180AL Scope was not as safe as other endoscopes, such that it

                         increased the risk of microbial contamination and the spread of these

                         contaminants from one patient to another;

                   (b)   that the risks of adverse events with the CF-180AL Scope, such as

                         microbial contamination and the spread of these contaminants from one

                         patient to another, were higher than with other endoscopes;

                   (c)   that the risks of adverse events with the CF-180AL Scope were not

                         adequately tested and/or known by Defendant Olympus;

                   (d)   that Defendant Olympus was aware of dangers in the CF-180AL Scope

                         that were in addition to and above and beyond those associated with other

                         endoscopes;

                   (e)   that the CF-180AL Scopes were defective, and caused dangerous side

                         effects, including, but not limited to, antibiotic-resistant infections, as well

                         as other severe and permanent health consequences, in a much higher rate

                         than other endoscopes;

                   (f)   that the use of CF-180AL Scopes resulted in dangerous side effects,

                         including, but not limited to, microbial contamination and the spread of

                         these contaminants from one patient to another,

                   (g)   that the CF-180AL Scope was manufactured, marketed, produced, sold

                         and distributed negligently;

                   (h)   that the CF-180AL Scope was manufactured, marketed, produced, sold

                         and distributed defectively;



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                   (i)    that the CF-180AL Scope was manufactured, marketed, produced, sold

                          and distributed improperly;

                   (j)    that the CF-180AL Scope’s reprocessing instructions were inadequate in

                          that they did not instruct, direct and/or otherwise allow for proper and/or

                          adequate cleaning and sanitizing of the CF-180AL Scope;

                   (k)    that the CF-180AL Scope’s reprocessing instructions did not prevent the

                          spread of microbial contaminants, but in fact increased the risk of the

                          spread of these contaminants;

                   (l)    that the CF-180AL Scope was designed negligently;

                   (m)    that the CF-180AL Scope was designed defectively; and

                   (n)    that the CF-180AL Scope was designed improperly.

         282.      Defendant Olympus was under a duty to disclose to Plaintiff’s healthcare

providers, including, but not limited to, Dr. Williams and Athens Gastroenterology Association,

the defective nature of the CF-180AL Scope, including, but not limited to, the heightened risks

of antibiotic-resistant infections associated with its use.

         283.      Defendant Olympus had sole access to material facts concerning the defective

nature of the product and its propensity to cause serious and dangerous side effects, and hence,

cause damage to persons who were exposed to the CF-180AL Scope, including the Plaintiff, in

particular.

         284.      Plaintiff and/or his treating healthcare providers were unaware of the defective

nature of the CF-180AL Scope and its propensity to cause serious and dangerous side effects,

and hence, cause damage to persons who used the CF-180AL Scope, including Plaintiff Stephen



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Collett, in particular, because this information was in the custody, possession and control of

Defendant Olympus.

         285.      Defendant Olympus’s concealment and omission of material facts concerning,

inter alia, the safety of the CF-180AL Scope was made purposefully, willfully, wantonly, and/or

recklessly, to mislead Plaintiff Stephen Collett’s healthcare providers into reliance and continued

use of the CF-180AL Scope, and to cause them to purchase and/or use the CF-180AL Scope.

         286.      Defendant Olympus knew that Plaintiff’s healthcare providers had no way to

determine the truth behind its concealment and omissions, as set forth herein.

         287.      Plaintiff’s healthcare providers reasonably relied on representations made by

Defendant Olympus, which recklessly, willfully, fraudulently and/or purposefully did not include

facts that were concealed and/or omitted by Defendant Olympus.

         288.      Representatives of Defendant Olympus had numerous contacts with Athens

Gastroenterology Association between the time period that Defendant Olympus first marketed

and sold its CF-180AL Scopes to Athens Gastroenterology Association until Plaintiff Stephen

Collett underwent his Procedure.

         289.      Because the fraudulent concealments continuously occurred between the time

period that Defendant Olympus first marketed and sold the CF-180AL Scopes to Athens

Gastroenterology Association until the Plaintiff Stephen Collett underwent his Procedure, it is

difficult, if not virtually impossible, to identify every date on which this fraudulent concealment

occurred.

         290.      All information regarding Defendant Olympus’s numerous contacts with Athens

Gastroenterology Association between the time period that Defendant Olympus first marketed



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and sold its CF-180AL Scopes to Athens Gastroenterology Association until Plaintiff underwent

his procedure is the possession, custody and control of Defendant Olympus.

         291.      Upon information and belief, had the severe health risks associated with the CF-

180AL Scope, as outlined herein, been properly and/or adequately disclosed, Plaintiff’s

healthcare providers would not have purchased and/or used the CF-180AL Scope.

         292.      Upon information and belief, had had the severe health risks associated with the

CF-180AL Scope, as outlined herein, been properly and/or adequately disclosed, Plaintiff’s

healthcare providers would have warned the Plaintiff of said risks.

         293.      Had the severe health risks associated with the CF-180AL Scope, as outlined

herein, been properly and/or adequately disclosed, Plaintiff would not have allowed the CF-

180AL Scope to be used in his procedure.

         294.      As a result of the aforementioned fraudulent concealment of each and every

Defendant, Plaintiff Stephen Collett was caused to suffer severe and personal injuries, including,

but not limited to, HIV, AIDS, and diminished enjoyment of life, as well as the need for lifelong

medical treatment.

         295.      By reason of the foregoing, Plaintiffs have been damaged.

                 THIRTEENTH CAUSE OF ACTION AS AGAINST DEFENDANT ASP
                         (FRAUDULENT CONCEALMENT/DECEIT)

         296.      Plaintiffs repeat, reiterate, and reallege each and every allegation in Paragraphs 1

through 295, with the same force and effect as if more fully set forth herein.

         297.      Defendant ASP conducted and/or should have conducted testing and research on

CIDEX.




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         298.      As a result of Defendant ASP’s research and testing, or lack thereof, Defendant

ASP intentionally omitted certain results of this research and testing from the Plaintiff, his

healthcare providers, including Dr. Williams and Athens Gastroenterology Association, and the

general public.

         299.      At all times during the course of dealing between Defendant ASP and Plaintiff’s

healthcare providers, including, but not limited to, Dr. Williams and Athens Gastroenterology

Association, Defendant ASP concealed the serious and grave health risk that could occur by

virtue of use CIDEX for its intended purpose, particularly the risk of microbial contamination

and the spread of these contaminants from one patient to another associated with the CIDEX

and/or its reprocessing instructions.

         300.      Defendant ASP concealment of the serious and grave health risks associated with

the CIDEX and/or its reprocessing instructions was willful, wanton and/or reckless.

         301.      Upon information and belief, Defendant ASP intentionally suppressed, ignored

and disregarded test results not favorable to the Defendants, and results that demonstrated that

the CIDEX was not as safe as other reprocessing methods.

         302.      In representations made to Plaintiff’s healthcare providers, as identified herein,

including Dr. Williams and ASP, via its website, product brochures, reprocessing instructions

and sales representatives, Defendant ASP fraudulently concealed and intentionally omitted the

following material information:

                   (a)    that the CIDEX was not as safe as other methods for cleaning endoscopes,

                          such that it increased the risk of microbial contamination and the spread of

                          these contaminants from one patient to another;



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                   (b)   that the risks of adverse events with CIDEX, such as microbial

                         contamination and the spread of these contaminants from one patient to

                         another, were higher than with other products;

                   (c)   that the risks of adverse events with the CIDEX were not adequately tested

                         and/or known by Defendant ASP;

                   (d)   that Defendant ASP was aware of dangers of CIDEX that were in addition

                         to and above and beyond those associated with other products;

                   (e)   that CIDEX was defective, and caused dangerous side effects, including,

                         but not limited to, infections, as well as other severe and permanent health

                         consequences, in a much higher rate than other products;

                   (f)   that the use CIDEX resulted in dangerous side effects, including, but not

                         limited to, contamination and the spread of these contaminants from one

                         patient to another,

                   (g)   that CIDEX was manufactured, marketed, produced, sold and distributed

                         negligently;

                   (h)   that CIDEX was manufactured, marketed, produced, sold and distributed

                         defectively;

                   (i)   that CIDEX was manufactured, marketed, produced, sold and distributed

                         improperly;

                   (j)   that CIDEX’s reprocessing instructions were inadequate in that they did

                         not instruct, direct and/or otherwise allow for proper and/or adequate

                         cleaning and sanitizing colonoscopes using CIDEX;



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                   (k)    that CIDEX’s reprocessing instructions did not prevent the spread of

                          microbial contaminants, but in fact increased the risk of the spread of

                          these contaminants;

                   (l)    that CIDEX was designed negligently;

                   (m)    that CIDEX was designed defectively; and

                   (n)    that CIDEX was designed improperly.

         303.      Defendant ASP was under a duty to disclose to Plaintiff’s healthcare providers,

including, but not limited to, Dr. Williams and Athens Gastroenterology Association, the

defective nature of CIDEX, including, but not limited to, the heightened risks of infections

associated with its use.

         304.      Defendant ASP had sole access to material facts concerning the defective nature

of the product and its propensity to cause serious and dangerous side effects, and hence, cause

damage to persons who were exposed to CIDEX, including the Plaintiff, in particular.

         305.      Plaintiff and/or his treating healthcare providers were unaware of the defective

nature of CIDEX and its propensity to cause serious and dangerous side effects, and hence, cause

damage to persons who used the CIDEX on colonoscopes, including the one used on Plaintiff

Stephen Collett, in particular, because this information was in the custody, possession and

control of Defendant ASP.

         306.      Defendant ASP’s concealment and omission of material facts concerning, inter

alia, the safety of CIDEX was made purposefully, willfully, wantonly, and/or recklessly, to

mislead Plaintiff Stephen Collett’s healthcare providers into reliance and continued use of the

CIDEX, and to cause them to purchase and/or use CIDEX.



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         307.      Defendant ASP knew that Plaintiff’s healthcare providers had no way to

determine the truth behind its concealment and omissions, as set forth herein.

         308.      Plaintiff’s healthcare providers reasonably relied on representations made by

Defendant ASP, which recklessly, willfully, fraudulently and/or purposefully did not include

facts that were concealed and/or omitted by Defendant ASP.

         309.      Representatives of Defendant ASP had numerous contacts with Athens

Gastroenterology Association between the time period that Defendant ASP first marketed and

sold CIDEX to Athens Gastroenterology Association until Plaintiff Stephen Collett underwent

his procedure.

         310.      Because the fraudulent concealments continuously occurred between the time

period that Defendant ASP first marketed and sold CIDEX to Athens Gastroenterology

Association until the Plaintiff Stephen Collett underwent his procedure, it is difficult, if not

virtually impossible, to identify every date on which this fraudulent concealment occurred.

         311.      All information regarding Defendant ASP’s numerous contacts with Athens

Gastroenterology Association between the time period that Defendant ASP first marketed and

sold CIDEX to Athens Gastroenterology Association until Plaintiff underwent his Procedure is

the possession, custody and control of the ASP.

         312.      Upon information and belief, had the severe health risks associated with CIDEX,

as outlined herein, been properly and/or adequately disclosed, Plaintiff’s healthcare providers

would not have purchased and/or used CIDEX.




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         313.      Upon information and belief, had had the severe health risks associated with the

CIDEX, as outlined herein, been properly and/or adequately disclosed, Plaintiff’s healthcare

providers would have warned the Plaintiff of said risks.

         314.      Had the severe health risks associated with the CIDEX, as outlined herein, been

properly and/or adequately disclosed, Plaintiff would not have allowed CIDEX to be used to

disinfect the colonoscope to be used in his procedure.

         315.      As a result of the aforementioned fraudulent concealment of each and every

Defendant, Plaintiffs Stephen Collett and Felicity Collett were caused to suffer severe and

personal injuries, including, but not limited to, HIV, AIDS, and diminished enjoyment of life, as

well as the need for lifelong medical treatment.

         316.      By reason of the foregoing, Plaintiffs have been damaged.

       FOURTEENTH CAUSE OF ACTION AS AGAINST DEFENDANT OLYMPUS
                   (NEGLIGENT MISREPRESENTATION)

         317.      Plaintiffs repeat, reiterate, and reallege each and every allegation in Paragraphs 1

through 316, with the same force and effect as if more fully set forth herein.

         318.      Defendant Olympus had a duty to Plaintiff to make accurate representations to her

healthcare providers, including, but not limited to, Dr. Williams and Athens Gastroenterology

Association, regarding the safety and effectiveness of the CF-180AL Scope and/or its

reprocessing instructions.

         319.      Defendant Olympus had a duty to Plaintiff to inform his healthcare providers,

including, but not limited to, Dr. Williams and Athens Gastroenterology Association, regarding

the safety and effectiveness of the CF-180AL Scope of any and all risks and/or side effects

associated with the CF-180AL Scope and/or its reprocessing instructions.


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         320.      Defendant Olympus breached the aforementioned duties by representing to

Plaintiff’s healthcare providers, as identified herein, including, but not limited to, Dr. Williams

and Athens Gastroenterology Association, that the CF-180AL Scope was safe for use as a

colonoscope in procedures, when it was in fact not.

         321.      Defendant Olympus breached the aforementioned duties by representing to

Plaintiff’s healthcare providers, as identified in herein, including, but not limited to, Dr. Williams

and Athens Gastroenterology Association, that the CF-180AL Scope was safe for use, and by

failing to inform them of the risk of microbial contamination and the spread of these

contaminants from one patient to another.

         322.      The representations made by Defendant Olympus were false.

         323.      The representations made by Defendant Olympus were made via its website,

product brochures, reprocessing instructions and/or sales representatives.

         324.      Defendant Olympus failed to exercise ordinary care in the representations it made

regarding the safety of the CF-180AL Scope, while involved in its design, manufacture, sale,

testing, quality assurance, quality control, and/or distribution into interstate commerce, in that

Defendant Olympus negligently misrepresented the CF-180AL Scope’s high risk of

unreasonable, dangerous side effects, including, but not limited to, microbial contamination and

the spread of this contamination from one patient to another.

         325.      Defendant Olympus knew and/or should have known that the CF-180AL Scope

had been insufficiently tested and/or had not been tested, that it lacked adequate and/or accurate

warnings, that its reprocessing instructions were inadequate and inaccurate, and/or that it created

a high risk and/or higher than acceptable risk of severe and grave health consequences,



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including, but not limited to, microbial contamination and the spread of this contamination from

one patient to another.

         326.      As a result of the negligent misrepresentations made by Defendant Olympus,

Plaintiff Stephen Collett was caused to suffer severe and personal injuries, including, but not

limited to, HIV, AIDS, and diminished enjoyment of life, as well as the need for lifelong medical

treatment.

         327.      By reason of the foregoing, Plaintiffs have been damaged.

              FIFTEENTH CAUSE OF ACTION AS AGAINST DEFENDANT ASP
                        (NEGLIGENT MISREPRESENTATION)

         328.      Plaintiffs repeat, reiterate, and reallege each and every allegation in Paragraphs 1

through 327, with the same force and effect as if more fully set forth herein.

         329.      Defendant ASP had a duty to Plaintiff Stephen Collett to make accurate

representations to his healthcare providers, including, but not limited to, Dr. Williams and

Athens Gastroenterology Association, regarding the safety and effectiveness of CIDEX and/or its

reprocessing instructions.

         330.      Defendant ASP had a duty to Plaintiff to inform his healthcare providers,

including, but not limited to, Dr. Williams and Athens Gastroenterology Association, regarding

the safety and effectiveness CIDEX of any and all risks and/or side effects associated with the

CIDEX and/or its reprocessing instructions.

         331.      Defendant ASP breached the aforementioned duties by representing to Plaintiff’s

healthcare providers, as identified herein, including, but not limited to, Dr. Williams and Athens

Gastroenterology Association, that CIDEX Scope was safe for use as a high level disinfectant for

colonoscopes, when it was in fact not.


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         332.      Defendant ASP breached the aforementioned duties by representing to Plaintiff’s

healthcare providers, as identified herein, including, but not limited to, Dr. Williams and Athens

Gastroenterology Association, that CIDEX was safe for use, and by failing to inform them of the

risk of microbial contamination and the spread of these contaminants from one patient to

another.

         333.      The representations made by Defendant ASP were false.

         334.      The representations made by Defendant ASP were made via its website, product

brochures, reprocessing instructions and/or sales representatives.

         335.      Defendant ASP failed to exercise ordinary care in the representations it made

regarding the safety of CIDEX, while involved in its design, manufacture, sale, testing, quality

assurance, quality control, and/or distribution into interstate commerce, in that Defendant ASP

negligently misrepresented CIDEX’s high risk of unreasonable, dangerous side effects,

including, but not limited to, microbial contamination and the spread of this contamination from

one patient to another.

         336.      Defendant ASP knew and/or should have known that CIDEX had been

insufficiently tested and/or had not been tested, that it lacked adequate and/or accurate warnings,

that its reprocessing instructions were inadequate and inaccurate, and/or that it created a high risk

and/or higher than acceptable risk of severe and grave health consequences, including, but not

limited to, microbial contamination and the spread of this contamination from one patient to

another.

         337.      As a result of the negligent misrepresentations made by Defendant ASP, Plaintiffs

Stephen Collett and Felicity Collett were caused to suffer severe and personal injuries, including,



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but not limited to, HIV, AIDS, and diminished enjoyment of life, as well as the need for lifelong

medical treatment.

         338.      By reason of the foregoing, Plaintiffs have been damaged.

                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff demands judgment against each and every Defendant on each of

the above-referenced claims and Causes of Action and as follows:

         1.        For any other causes of action and/or claims as may be compensable under local

laws and/or statutes as may apply under the laws in the jurisdiction and venue in which this case

may be transferred for trial;

         2.        Awarding compensatory damages to Plaintiffs for past and future damages,

including, but not limited to, pain and suffering for severe injuries sustained by Plaintiffs, health

care costs, loss of wages and/or earning capacity, and medical monitoring, together with interest

and costs as provided by law;

         3.        Punitive and/or exemplary damages for the intentional, wanton, willful,

fraudulent, reckless, and/or grossly negligent acts of Defendants, who demonstrated a profound

disregard and reckless indifference for the health and welfare of the general public and of the

Plaintiff, in an amount sufficient to punish Defendants and deter future similar conduct;

         4.        Awarding Plaintiffs’ reasonable attorneys’ fees;

         5.        Awarding Plaintiffs the cost of these proceedings; and

         6.        Such other and further relief as this Court deems just and proper.

                                    DEMAND FOR JURY TRIAL

         Plaintiffs hereby demand trial by jury as to all issues.



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                   Respectfully submitted August 13, 2018.


                                                       /s/ Richard A. Wingate
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                                                       /s/ James W. Hurt, Jr.
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                                 IN THE UNITED STATES DISTRICT COURT
                                      MIDDLE DISTRICT OF GEORGIA
                                           ATHENS DIVISION

STEPHEN R. COLLETT and                                   )
FELICITY COLLETT,                                        )
                                                         )
                   Plaintiffs,                           )
                                                         )
v.                                                       )    CIVIL ACTION
                                                         )    FILE NO. 3:18-CV-00066-CDL
OLYMPUS OPTICAL CO., LTD., and                           )
ADVANCED STERILIZATION PRODUCTS,                         )
a Division of Ethicon, Inc.,                             )
                                                         )
                   Defendants.                           )
                                                         )
                                                         )


                                     CERTIFICATE OF SERVICE

                   This is to certify that on August 13, 2018, I have electronically filed the foregoing

Amended Complaint with the Clerk of Court using the CM/ECF system which will automatically

send email notification of such filing to the following attorney(s) of record:

                                            Kara Cleary, Esq.

And by placing a copy of same in the United States Mail with adequate postage thereon to:

                                       Olympus Optical Co., Ltd.
                                           Shinjuku Monolith
                                          2-3-1 Nishi-Shinjuku
                                      Shinjuku-ku, Tokyo 163-0914




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                                              /s/ Richard A. Wingate
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                                              For HALLMAN & WINGATE, LLC
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